        Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 1 of 18



June 23, 2019



Honorable Allison D. Burroughs
United States District Judge
RE: Sunrise Lee


My name is Joseph W. Minch, government contactor for the USDA, IT support specialist Grand
Rapids, MI. I have been friends with Sunrise Lee for over twenty years, we met while still teenagers.
I have been blessed to become friends with her and her family. I was welcomed into her home
spending many Christmas’s, Thanksgiving’s and family gatherings over the years. We just
celebrated Sunrise’s oldest sons high school graduation. I have known her to be a kind, strong,
dedicated, loving woman and mother. She is one of the finest examples of what we should all strive
for in humanity. Her children are polite and show the same kindness and good will that I have only
know her to have. I can only imagen this is because she lives her day to day life with the intent to be
virtuous. Sunrise Lee has always treated me with dignity, respect and more than that with love. Life
for us all has its ups and downs. In the past few years, it seemed to me she had a heavy heart, she
didn’t say what was going on, only asked how have I been. Ever still helping and loving her family,
friends and community. There are few people in this world I can confidently say truly care for others
like her. They do not have to be people she knows, or like her in any way, only that they are a
person and deserve the kindness and love from others that we all should give. As I have become
more distrusting through life’s difficulties. She is a reminder of how I should strive to be more
thoughtful and kinder to all of my fellow mankind. I hope for the best, for Sunrise Lee and her family
in this difficult time.


Joseph w. Minch
        Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 2 of 18



June 16, 2019


Honorable Allison D. Burroughs
United States District Court
1 Courthouse Way
Suite 2300
Boston, MA 02210

RE: Sunrise Lee


Dear Honorable Allison D. Burroughs:

My name is Dan Lee and I am the President of the West Michigan BLAST(non-profit), Baseball Coach
(3 teams), Project Manager for a Sensor Technology Company, and the spouse of Sunrise Lee.

I have known Sunrise for over 20 years and she has always been the person that people know they
can go to for support or words of encouragement. She is extremely selfless to the point I find
myself questioning why. It’s because that is the type of person Sunrise is. She is a servant to others
and has always been since I have known her.

I actually met her for first time when we were both in high school and then a couple years later we
connected again through friends, started dating, fell in love, and within one year we were married.
I knew she was a very special person and she would do just about anything for anyone. One year
after we were married we had our first child (Daniel 18) and 6 years later we had our second child
(Isaac 12). I could go on and on about our children and why they are who they are and it is be cause
they have a mother like Sunrise. It’s true… I could go on and on about the number of kids she has
welcomed and continues to welcome into our home and they all now she is like their second mo m.
This is for you to understand who Sunrise is to me as a person. I was not the best husband or the
best father to our children when we started down the path of marriage and raising our family. After
9 years of marriage we divorced. I knew at the time I did not deserve her and my priorities were
not in order and so did she. While separated she always respected me and never bashed me to our
children or to anyone that we knew. A few years separated I finally started to understand what she
wanted and what she always strives for. Sunrise has always been about her family. I do not mean
biological. She welcomes anyone into her circle and truly wants what is best for everyone. She is
the most caring, kind, loving, and forgiving person I know. A few years ago Sunrise gave me a
second chance with her and our family. I know she didn’t do it because she was deeply in love with
me again. She was once again was looking out for her family and trying to do what is best for her
family. It was not easy for her to let down her guard again and give me another chance . We have
now been together for the past five years and she has helped make me a better man in our
community, a better father to our children, and friend to her.
          Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 3 of 18
Honorable Allison D. Burroughs
June 16, 2019
Page 2

When Sunrise first got her job with INSYS she was very proud and was very excited about getting
“her break”. She was always trying her hardest to understand what she had to do and was always
trying to do the right thing. She was always working hard and meeting the company objectives. In
return, the company leadership seen that and took advantage of it. They used her and her
personable traits to benefit themselves. She is a servant to others… The amount of work and stress
put on her during the short time with the company on top of life caused Sunrise to become
emotionally ill. What we once thought was a blessing has been the worst thing to ever happen to
our family. When Sunrise was arrested it was a day I will never forget and thought would never
come. I knew the company had struggled with her and settling on her wrongful termination. I was
not fully aware of the INSYS lawsuits prior to her arrest and never knew her allegedly involvement
until she was brought up these charges. This was and still is shocking to me and all the people that
know her.

Sunrise is again the most sincere, kind, caring, and selfless person that I know. I have had the honor
of spending nearly half of my life with her and I am a better person because of it. Please take into
consideration our family and the damaging effects that this has been on Sunrise and us and w ill
continue to be regardless of the outcome. We have already lost years dealing with the company
and now this trial. We are still hoping and praying for justice and for this to all be over.

Sincerely,




Dan Lee
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    Case 1:16-cr-10343-ADB    Document 1169 Filed 01/23/20 Page 4 of 18
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Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 5 of 18
        Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 6 of 18



June 22, 2019

To: The Honorable Allison D. Burroughs



Dear Judge Burroughs,

I am writing this letter on behalf of a dear friend of mine, Sunrise Lee. I had the pleasure of meeting
Sunrise several years ago, and from that point forward, she’s always held a very special place in my
heart. We had many commonalities, although I thought that Sunrise had the world in her hands, and I
was still trying to figure many things out. I admired many amazing qualities that Sunrise encompassed,
qualities that I hoped to attain myself. Sunrise is a wonderful mother to her boys! She was, and is, at
every sporting event, and chaperoning field trips. She would take their calls at the drop of a hat, to
support any need they had. I saw through her that I could manage a career, while still being an amazing
mother, and always be available to my family, too. Sunrise was always there to lift me when I fell. She
taught me to believe in myself with her actions and words. She taught me that anything is possible when
you just believe in yourself. And, Sunrise believed in me through my high points and lows. That always
stuck with me, and always will. She doesn’t leave when things get tough. She is loyal, and loyal friends
are hard to come by. As I grow older, I’ve amassed quite a wonderful circle of friends. But Sunrise will
always glow to me, because she is one of the truly good people in this world. She’s genuine, caring, and
noble. All of her wonderful attributes are of tremendous value to our society. Again, your Honor, Sunrise
is one of the good ones.

Thank you for your time.



Respectfully,

Jessica Larichiuta
                 Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 7 of 18
      June 7th, 2019



      To: Honorable Allison D. Burroughs of Massachusetts



      Dear Judge Burroughs,

      RE: Sunrise Lee



      My name is Mariana. I am sister to Sunrise Lee. I am a Care Specialist at an Assisted Living Home.

      I would like t o tell ·you what I-know about my sister, Sunrise. The true pe~son whom! know-she-~s-.

      I ask for you and those who hear you reads this, to listen so their heart and soul can feel.



      From the beginning the world has been hard on her. My sister Sunrise, myself and our brother, were

      abused, neglected and abducted. While abducted, we were able to go to school and live in apartments

       for rent. As the abuse continued, we were rescued, thanks to a nice women,

      whom turned my father in. My sister is the reason we survived those years. She gave

       up her childhood to take care of us and protected us the best she can. I watched her go through the

       most abuse.



       My beloved sister worked so hard in school. While attending school she focused on a career to help

       others. She wanted to help make this world a better place. She always saw good in people. She wanted

       to graduate from college, and have a career with the means to help people. When this career

__ __ ._opportunity arrived, she-.quit school becaust-she-thoughtshe was giyen an honesfopportunity to

       actually have a career that sounds promising in what she wanted to do.

       Now I see the world can still be cruel and easily manipulated to be misjudged others. I see the world can

       still be unkind to her. Once again a victim. Her only failure is mistrusting and easily manipulated by

       others.



       I do not know what kind of person you are. I ask for kindness and fairness on the future that will be

       forced on my sister.
       Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 8 of 18



June 17, 2019

To: Honorable Allison D. Burroughs of Massachusetts

RE: Sunrise M Lee

Dear Judge Burroughs,

My name is Tom Wauben. My wife, Amy, and I are writing this letter to you in support of
our friend Sunrise Lee. I guess you could call this a character reference letter. We have known
Sunrise for approximately 6-7 years. My wife teaches in the district that her children attend; I
also coach in that same district as well and work in administration in a neighboring school
district. We both consider ourselves very good judges of someone’s character.

Our children have attended school and participated in so many athletic events alongside
Sunrise’s children that they are too numerous to count. Our kids have been over to her house,
have spent nights over to her home, and have gone away on weekend events with her and her
family. Likewise, her children have been to our home and spent nights here as well. I can’t
make a stronger statement towards one’s character in that we will allow her to care for our
own children as nothing is more precious to us.

Sunrise has always been extremely friendly, polite, and positive in any of our interactions.
At athletic events she is always giving words of encouragement and is very supportive of all
of the kids there, not just her own. More than anything though, anyone who knows Sunrise
would say she is a loving mother. She takes that role seriously. She is loving, caring,
hardworking, and very, very present in her boys’ lives. She is always there for them and her
boys love her dearly. The love and bond she shares with her boys is very evident and inspiring.

This situation is heartbreaking for our entire community of friends. She has always been such
an amazing mom and friend; we feel her boys need their mom in their lives. What child
wouldn’t want their mom at their sporting event or on the side line cheering them on? I can’t
imagine what she is going through right now. Her whole life has been devoted to her family.

Thank you for taking the time to read our letter and please give this consideration with any
decisions you might make that would affect Sunrise and her family.

Sincerely,


Tom and Amy Wauben
              Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 9 of 18




June 9th, 2019

TO: Honorable Allison D. Burroughs of Massachusetts

Dear Judge Burroughs,

RE: Sunrise M Lee



My name is Shirley Connelly and I am the mother of Sunrise Lee. I write this letter to help you
understand my daughter for the person she is. During her young age she was burdened with an abusive
relationship I endured with her father that lead to a quick divorce. At the age of 4 during her father's
visitation I made the mistake of letting him take them to the zoo which he instead took them out of the
count ry. At the age of 8 I was reunited with Sunrise and her siblings to learn of her struggles while in his
care being left alone at times to care for herself and siblings .while in foster care she burdened the
hardships of fearing they would be separated and not knowing they would be safe.so you see her life
started of rough yet with this said she is a remarkable person. Sunrise is caring, thoughtful, loving, hard -
working, strong- minded independent person. While married she was a good wife and is an outstanding
mother, protector to keep them safe, also to teach them good morals to do right in life, they are the
rock that keeps her going. Sunrise grew up with respect for others as well as for herself and disciplined
to be honest and do what's right. In our household while growing up we had 3 main rules no lying no
cheating and no sneaky business .During her school years sunrise worked hard with good grades and a
competitor in her sports. She was always popular in school for her kindness and support in helping
others when she had the time, and would take the time to let others know they did a great job. Sunrise
would often say she wanted to be a lawyer or doctor growing up .sunrise did not grow up with
expensive clothes at times it was a struggle but she was always grateful and took the time to let us know
it was okay. After school she worked put herself through college Sunrise would never do anything to
hurt others or knowing or willingly break the law. Today she is weakened by the fight. She has endured
cruelty from people in angles whom truly don't know her and has put her in a weaker state. As you
 know I sat through the whole trial in Boston but a week, having her sister be at her side during the week
 I was gone. I understand that it's rare for a judge to overrule a verdict. I am asking for your help in
 fairness to do the right thing.



 Sincerely,

 Shirley Connelly
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 10 of 18
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 11 of 18
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 12 of 18
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 13 of 18
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 14 of 18
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 15 of 18
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 16 of 18
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 17 of 18
Case 1:16-cr-10343-ADB Document 1169 Filed 01/23/20 Page 18 of 18
